               Case 3:18-cv-05366-BHS Document 52 Filed 12/20/19 Page 1 of 3




 1                                                    THE HONORABLE BENJAMIN H. SETTLE
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA

 9   DREW MITCHEM,                                )
                                                  )
10                                                      Case No. 3:18-CV-05366-BHS
                                     Plaintiff,   )
                                                  )
11                                                      NOTICE OF SETTLEMENT OF ALL
              v.                                  )
                                                        CLAIMS IN MITCHEM V. NRPC
                                                  )
12   NATIONAL RAILROAD PASSENGER                  )
                                                        [CLERK’S ACTION REQUIRED]
     CORPORATION d/b/a AMTRAK,                    )
13                                                )
                                  Defendant.      )
14                                                )
     DONNELL LINTON,                              )
15                                                )
                                     Plaintiff,   )
16                                                )
              v.                                  )
17                                                )
     NATIONAL RAILROAD PASSENGER                  )
18   CORPORATION d/b/a AMTRAK,                    )
                                                  )
19                                Defendant.      )
                                                  )
20   LAURA VAUGHNS and ALBERT J.                  )
     VAUGHNS, individually and as Joint           )
21   Guardians to AG, JR, ZL, LS and FJ, their    )
     minor children; and ZOE MARIE                )
22   TOWNSEND VAUGHNS,                            )
                                   Plaintiffs,    )
23                                                )
              v.                                  )
24                                                )
     NATIONAL RAILROAD PASSENGER                  )
25   CORPORATION d/b/a AMTRAK,                    )
                                                  )
26                                Defendant.      )
27
     NOTICE OF SETTLEMENT - 1                                               LANE POWELL PC
                                                                     1420 FIFTH AVENUE, SUITE 4200
     No. 3:18-CV-05366-BHS                                                    P.O. BOX 91302
                                                                        SEATTLE, WA 98111-9402
                                                                      206.223.7000 FAX: 206.223.7107
     019188.0403/7874498.1
               Case 3:18-cv-05366-BHS Document 52 Filed 12/20/19 Page 2 of 3




 1            Notice is hereby given that all claims against all parties in Mitchem v. NRPC, Case No.
 2   3:18-CV-05366-BHS have been resolved. The Linton v. NRPC and Vaughns v. NRPC cases that
 3
     were consolidated with Mitchem remain pending and set for trial beginning on January 28, 2020.
 4
     This notice is being filed with the consent of all parties. If an order dismissing all claims against
 5
     all parties is not entered within 90 days after the written notice of settlement is filed, the case
 6

 7   shall be dismissed by the court.

 8            DATED: December 20, 2019.

 9                                                  LANE POWELL PC

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               Case 3:18-cv-05366-BHS Document 52 Filed 12/20/19 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2            I hereby certify that on the 20th day of December 2019, I electronically filed the foregoing

 3   with the Clerk of the Court using the CM/ECF System, which in turn automatically generated a

 4   Notice of Electronic Filing (NEF) to all parties in the case who are registered users of the

 5   CM/ECF system. The NEF for the foregoing specifically identifies recipients of electronic

 6   notice. I hereby certify that the following document was sent to the following CM/ECF

 7   participant:

 8    Robert N. Gellatly                                 Kevin P. Durkin
      David M. Beninger                                  Sean P. Driscoll
 9    Andrew Hoyal                                       Kristopher S. Riddle
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13

14
              DATED this 20th day of December 2019.
15

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17
                                             s/Janet Wiley
18                                           Janet Wiley, Legal Assistant

19

20

21

22

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27
     NOTICE OF SETTLEMENT                                                           LANE POWELL PC
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